        Case 3:18-cv-00218-HTW-LRA Document 38 Filed 07/09/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

LARRY COLEMAN                                                                       PLAINTIFF

VERSUS                                          CIVIL ACTION NO. 3:18-cv-218-HTW-LRA

KOCH FOODS OF MISSISSIPPI, et al.                                               DEFENDANTS


                                     FINAL JUDGMENT

        An order of dismissal having been entered in this matter, in accordance with the Joint

Stipulation of Dismissal filed by the parties, and in accordance with Federal Rules of Civil

Procedure 41(1)(1)(A)(ii), which order is incorporated herein by reference,

        IT IS THEREFORE ORDERED AND ADJUDGED, that the above styled and numbered

cause is dismissed with prejudice, with each party to bear its own respective costs and attorneys’

fees.

        SO ORDERED AND ADJUDGED, this the 9th day of July, 2019.


                                             s/ HENRY T. WINGATE
                                             UNITED STATES DISTRICT COURT JUDGE
